    Case 3:18-cv-00090-GEC Document 35 Filed 11/18/20 Page 1 of 4 Pageid#: 292




                                 UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF VIRGINIA
                                      Charlottesville Division

IRA D. SOCOL,                                        )
                                                     )
                        Plaintiff                    )
                                                     )
                                                     )
v.                                                   )                          Case No. 3:18cv00090
                                                     )
                                                     )
ALBEMARLE COUNTY SCHOOL BOARD                        )
                                                     )
    and                                              )
                                                     )
MATTHEW S. HAAS, individually and as Superintendent )
    of Albemarle County Public Schools,              )
                                                     )
                  Defendants.                        )
                                                     )

                   PLAINTIFF’S UNOPPOSED MOTION FOR CONTINUANCE

           Plaintiff Ira David Socol (“Mr. Socol”), by counsel, respectfully moves this Court for the

continuance of the trial presently scheduled for February 9-12, 2021. Mr. Socol seeks a

continuance to allow the parties time to conclude discovery and potentially conduct mediation in

the wake of the continuing COVID-19 pandemic. In further support of this Motion, Mr. Socol

states as follows.

           1.       This is a civil rights action brought by Ira David Socol against the Albemarle

County School Board1 and Dr. Matthew Haas (“Dr. Haas”), pursuant to 42 U.S.C. § 1983, for

violations of Mr. Socol’s due process rights.

           2.       On June 8, 2020, this Court entered a revised Scheduling Order (the “Revised

Scheduling Order”) pursuant to Federal Rule of Civil Procedure 16(b) setting this matter for trial

beginning on February 9, 2021. [ECF No. 31]
1
    The Court dismissed the Albemarle County School Board from this suit in its June 25, 2019 Order. [ECF No. 22].
 Case 3:18-cv-00090-GEC Document 35 Filed 11/18/20 Page 2 of 4 Pageid#: 293




       3.      The Scheduling Order also set November 16, 2020 as the date by which the

parties must complete discovery. [Id.]

       4.      On March 12, 2020, Virginia Governor Ralph Northam declared a state of

emergency in the Commonwealth of Virginia in response to the spread of COVID-19. See

Governor Northam Declares State of Emergency, Outlines Additional Measures to Combat

COVID-19. See https://www.governor.virginia.gov/newsroom/all-releases/2020/march/headline-

853537-en.html. Governor Northam’s has subsequently issued Executive Orders related to the

COVID-19 on March 30, 2020, May 4, 2020, May 14, 2020 May 26, 2020, June 2, 2020, June 9,

2020, June 22, 2020, July 30, 2020, August 3, 2020, and November 13, 2020. See

https://www.governor.virginia.gov/executive-actions/.

       5.      On March 16, 2020, the Chief Judge of this Court issued a Standing Order

curtailing the proceedings to be heard before the Court due to the COVID-19 pandemic.

       6.      Moreover, in obedience of the social distancing guidelines put into place by the

Centers of Disease Control, the parties were unable to conduct mediation.

       7.      Due to the delay created by the COVID-19 pandemic, Mr. Socol requests a

continuance for a period to be determined by the Court for the purpose of completing discovery

and for the opportunity of mediation.

       8.      A continuance will ensure that the parties will have the flexibility of complying

with the evolving guidelines published by the prevailing public health authorities.

       9.      Counsel for Mr. Socol represents that counsel for Dr. Haas does not oppose this

Motion.

       10.     Mr. Socol therefore respectfully requests that the trial in this matter be continued

to an alternative date to be determined by the Court, allowing more time to complete discovery.



                                                2
 Case 3:18-cv-00090-GEC Document 35 Filed 11/18/20 Page 3 of 4 Pageid#: 294




          WHEREFORE, Mr. Socol respectfully requests that the Court (i) grant this Motion, (ii)

reschedule the hearing in this matter to an alternative date, (iii) modify the trial deadlines

accompanying the hearing date accordingly, and (iv) enter any further relief it deems just and

proper.

                                             Respectfully Submitted,
                                             IRA D. SOCOL
                                             By Counsel

        s/ Jeffrey R. Adams
Jeffrey R. Adams (VSB No. 43411)
Lucas I. Pangle (VSB No. 90963)
Wharton, Aldhizer & Weaver, PLC
125 S. Augusta Street
Staunton, Virginia 24401
Telephone: 540-885-0199
Facsimile: 540-213-0390
Email: jadams@wawlaw.com
        lpangle@wawlaw.com
Counsel to Ira D. Socol

20021252




                                                3
 Case 3:18-cv-00090-GEC Document 35 Filed 11/18/20 Page 4 of 4 Pageid#: 295




                               CERTIFICATE OF SERVICE

       I hereby certify that on November 18, 2020, I electronically filed the foregoing paper

with the Clerk of the Court using the ECF system, which will send notification of such filing to

the attorneys registered with the ECF system.

       Jennifer D. Royer, Esq.
       Royer Law Firm, P.C.
       PO Box 4525
       Roanoke, Virginia 24015
       jroyer@royerlawfirm.com
       Counsel for Defendants

                                                    s/ Jeffrey R. Adams
                                            Jeffrey R. Adams (VSB No. 43411)
                                            Lucas I. Pangle (VSB No. 90963)
                                            Wharton, Aldhizer & Weaver, PLC
                                            125 S. Augusta Street
                                            Staunton, Virginia 24401
                                            Telephone: 540-885-0199
                                            Facsimile: 540-213-0390
                                            Email: jadams@wawlaw.com
                                                    lpangle@wawlaw.com
                                            Counsel to Ira D. Socol




                                                4
